                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  UNITED STATES OF AMERICA,                        )
                                                   )
                        Plaintiff,                 )
                                                   )
  v.                                               )                No. 3:22-CR-14-TAV-JEM
                                                   )
  DAVID HENDERSON,                                 )
                                                   )
                        Defendant.                 )


                             REPORT AND RECOMMENDATION

         This case is before the Court for report and recommendation on Defendant David

  Henderson’s Motion to Dismiss the Indictment for Failure to State an Offense [Doc. 14] and

  Motion to Dismiss Indictment Based on Duplicity [Doc. 16]. See 28 U.S.C. § 636(b). Defendant

  argues that the Indictment, which charges conspiracy to commit federal program fraud, fails to

  state an offense and is duplicitous because it does not allege that at least $5,000 of property was

  converted in a twelve-month period.        For the reasons explained below, the undersigned

  recommends that the District Judge DENY both motions [Docs. 14 & 16].

  I.     BACKGROUND

         The Grand Jury for the Eastern District of Tennessee returned an Indictment against

  Defendant [Doc. 3]. In the Indictment, Defendant is charged with one count of conspiracy to

  commit federal program fraud, in violation of Title 18, United States Code, Section 371 [Id.]. The

  Government asserts that Defendant was employed by the Knox County Sheriff’s Office (“KCSO”),

  a local governmental agency in Knoxville, Tennessee [Id. ¶¶ 1–2]. The KCSO was fully funded

  by the Knox County government’s General Fund, three percent of which came from federal grant

  money, including federal grants for the housing of federal detainees in the Knox County jail under




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  18 U.S.C. § 4002 [Id. ¶ 3]. The Government asserts that, at all material times, KCSO received

  more than $10,000 per year in federal grant funds [Id. ¶ 4].

         Also at all times material to the allegations set forth in the Indictment, Defendant was the

  Chief of the KCSO Narcotics Unit, which is the KCSO’s drug-enforcement unit, and had

  supervisory authority over all KCSO officers who worked in that unit [Id. ¶¶ 5–6]. The Narcotics

  Unit maintained a cash fund that consisted of money seized by the KCSO in accordance with state

  law from criminal defendants and/or enterprises [Id. ¶¶ 9–10]. The purpose of the fund was to

  purchase equipment and supplies for KCSO operations, such as pole cameras [Id. ¶ 9]. KCSO

  officers were authorized to take money from the fund prior to making an official purchase, or they

  were authorized to make the purchase first and then seek reimbursement from the fund [Id. ¶ 10].

  In either case, the KCSO officer was required to submit a receipt for record-keeping purposes [Id.].

  At the end of each month, a KCSO officer would reconcile all purchases made with money from

  the fund and report those purchases to an employee of the KCSO’s Finance Department [Id.].

         The Narcotics Unit also maintained a credit card, which was used for covert purposes only

  [Id. ¶ 11]. To maintain the security and integrity of ongoing non-public investigations, purchases

  made with the credit card were not disclosed to the public [Id.]. The card was kept in a safe within

  the Narcotic Unit’s building, and officers who used the card were required to return it to the safe

  along with all receipts of purchases [Id.].

         The Government alleges that from in or around 2011 and continuing uninterrupted to in or

  around September 2018, Defendant, together with other unindicted co-conspirators, conspired to

  commit an offense against the United States—that is, the theft of federal program funds under 18

  U.S.C. § 666(a)(1)(A)—in violation of 18 U.S.C. § 371 [Id. p. 3]. Generally, the Government

  asserts that Defendant and his coconspirators would unlawfully enrich themselves and others by,



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  among other things: (a) using the Narcotics Unit cash fund to purchase items for their own personal

  use; (b) using the Narcotics Unit credit card for their own personal use or benefit; (c) concealing

  and causing the concealment of purchases made with the cash fund and credit card by submitting

  expense reports and credit-card statements to the Knox County Finance Department and

  representing that the purchases were made for official purposes when they knew that the purchases

  were solely for their personal benefit or the personal benefit of their family members, associates,

  or friends; (d) depriving Knox County of the right to its employees’ time and labor during official

  hours by directing certain subordinate Narcotics Unit officers to perform renovation, remodeling,

  and construction projects of a purely personal nature at various locations and for the personal

  benefit of various individuals, including but not limited to Defendant’s private residence, the

  private residence of the former Knox County Sheriff, and the private residences of family

  members, associates, and friends [Id. at 3–18].

         Defendant timely filed two motions to dismiss the Indictment: a Motion to Dismiss the

  Indictment for Failure to State an Offense [Doc. 14] and a Motion to Dismiss Indictment Based on

  Duplicity [Doc. 16]. The Government responded to each [Doc. 26], Defendant replied [Doc. 27],

  and the Court held a hearing on the motions [Doc. 28]. Assistant United States Attorney William

  A. Roach, Jr., and Assistant United States Attorney Frank M. Dale, Jr., appeared on behalf of the

  Government. Attorney Robert R. Kurtz represented Defendant Henderson. The Court heard the

  parties’ arguments on the motions and took the matter under advisement. For the reasons set forth

  below, the undersigned recommends that the District Judge deny both motions [Docs. 14 & 16].

  II.    ANALYSIS

         Defendant Henderson asks the Court to dismiss the Indictment, arguing that it fails to state

  an offense [Doc. 14] and that it is duplicitous [Doc. 16]. Under the Federal Rules of Criminal



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  Procedure, an “indictment . . . must be a plain, concise and definite written statement of the

  essential facts constituting the offense charged.” Fed. R. Crim P. 7(c)(1).          It must also charge

  separate offenses in separate counts. Fed. R. Crim. P. 8(a).

          “[A]n indictment is sufficient if it, first, contains the elements of the offense charged and

  fairly informs a defendant of the charge against which he must defend, and second, enables him to

  plead an acquittal or conviction in bar of future prosecutions for the same offense.” Hamling v.

  United States, 418 U.S. 87, 117 (1974); see also United States v. Kuehne, 547 F.3d 667, 696 (6th

  Cir. 2008) (explaining that an indictment is sufficient if it “‘fully, directly, and expressly . . . set[s]

  forth all the elements necessary to constitute the offense intended to be punished’” (quoting United

  States v. Douglas, 398 F.3d 407, 411 (6th Cir. 2005))). The charging instrument “is usually

  sufficient if it states the offense using the words of the statute itself as long as the statute fully and

  unambiguously states all of the elements of the offense.” United States v. Landham, 251 F.3d

  1072, 1079 (6th Cir. 2001).

          “An indictment is duplicitous if it sets forth separate and distinct crimes in one count.”

  United States v. Davis, 306 F.3d 398, 415 (6th Cir. 2002). “‘The overall vice of duplicity is that

  the jury cannot in a general verdict render its finding on each offense, making it difficult to

  determine whether a conviction rests on only one of the offenses or on both.’” United States v.

  Anderson, 605 F.3d 404, 414 (6th Cir. 2010) (quoting United States v. Washington, 127 F.3d 510,

  513 (6th Cir. 1997)). Duplicitous indictments do not allow the jury to “convict on one offense and

  acquit on another,” which is why they implicate the Sixth Amendment guarantee of jury unanimity.

  Washington, 127 F.3d at 513.

          Each of Defendant’s motions is premised on the argument that the Government did not

  allege that property valued at $5,000 or more was stolen or otherwise misappropriated in any one-



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  year period [Doc. 15 p. 1; Doc. 17 p. 1]. The Government contends that it need not allege this to

  charge Defendant with conspiracy to commit federal program fraud in violation of 18 U.S.C. §

  371, and the Indictment contains sufficiently specific facts to plead this offense [Doc. 26 p. 1].

  The Court, therefore, must determine (1) what must be pled to assert conspiracy to commit federal

  program fraud in violation of 18 U.S.C. § 371 and (2) whether multiple offenses are charged in the

  one-count Indictment. For the reasons explained below, the undersigned finds that the Indictment

  is sufficient to charge a conspiracy to commit federal program fraud and is not duplicitous.

         The parties do not dispute the elements the Government must show to allege conspiracy to

  commit federal program fraud in violation of 18 U.S.C. 371: (1) the defendant knowingly and

  willingly joined the conspiracy; (2) the purpose of which was to steal federal program funds, in

  violation of 18 U.S.C. § 666(a)(1)(A); and (3) a member of the conspiracy took an overt act in

  furtherance of the conspiracy [See Doc. 26 p. 7; Doc. 27 p. 5; see also Doc. 15 pp. 2–3]. United

  States v. Washington, 715 F.3d 975, 979–80 (6th Cir. 2013); see also Sixth Circuit Pattern Jury

  Instructions, Section 3.01A (stating that three elements are necessary to prove a conspiracy to

  commit an offense against the United States: (1) two or more persons conspired or agreed to

  commit the stated offense; (2) the defendant knowingly and voluntarily joined the conspiracy; and

  (3) a member of the conspiracy did one of the overt acts described in the indictment for the purpose

  of advancing or helping the conspiracy). Defendant, however, claims that, on its face, the

  Indictment fails to allege a necessary part of the second element; that is, that the purpose of the

  conspiracy was to steal federal program funds in violation of 18 U.S.C. § 666(a)(1)(A). According

  to Defendant, a necessary element to prove that the purpose of the conspiracy was to violate

  § 666(a)(1)(A) is to allege that $5,000 or more worth of property was converted for personal use

  in a twelve-month period, and he says the Indictment is deficient in that respect [Doc. 27 pp. 1–2].



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  In other words, Defendant asserts that “one can not [sic] violate 18 U.S.C. § 666(a)(1)(A) unless

  the purpose of the conspiracy was to convert property valued at $5000 or more to personal use in

  a twelve[-]month period” [Id. at 6].

         The Government does not dispute that this provision would be required to allege a violation

  of § 666(a)(1)(A), but it asserts that it has not charged Defendant with violation of § 666(a)(1)(A)

  and it therefore does not need to allege or prove the elements necessary to sustain a violation of §

  666(a)(1)(A) [Doc. 26 p. 8]. The Government’s position is supported by applicable Sixth Circuit

  precedent. Whether $5,000 or more worth of property was converted for personal use in a twelve-

  month period by Defendant is an element of the underlying substantive offense of theft or bribery

  concerning programs receiving federal funds under 18 U.S.C. § 666(a)(1)(A). The Government

  does not have to prove the elements of that offense—that is, federal program fraud—to convict

  Defendant of conspiracy. See United States v. Phillips, 872 F.3d 803, 806 (6th Cir. 2017) (finding

  the same for a fraud conspiracy). “It is elementary that a conspiracy may exist and be punished

  whether or not the substantive crime ensues.” Salinas v. United States, 522 U.S. 52, 65 (1997);

  see also Phillips, 872 F.3d at 806 (quoting Salinas). “And it is equally elementary that ‘[a]

  conspiracy may exist even if a conspirator does not agree to commit or facilitate each and every

  part of the substantive offense.’” Phillips, 872 F.3d at 806–07 (quoting Salinas) (alteration in

  original); see also Pinkerton v. United States, 328 U.S. 640, 643 (1946) (“[T]he commission of the

  substantive offense and a conspiracy to commit it are separate and distinct offenses.”).

         “That’s the lesson of United States v. Washington, 715 F.3d 975 (6th Cir. 2013).” Phillips,

  872 F.3d at 807. In Washington, “[a] jury convicted the defendant of conspiracy to commit

  program fraud.” Id. The defendant “challenged the verdict on the ground that the government

  failed to prove that she ‘embezzled, stole or fraudulently obtained property,’ [which is] an element



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  of the underlying substantive offense of program fraud.” Id. (quoting Washington, 715 F.3d at

  979). But the Sixth Circuit Court of Appeals rejected that argument. It said “[i]t was enough for

  the government to prove that the defendant knowingly and voluntarily joined an agreement to

  defraud and that a member of the conspiracy took an overt act in furtherance of it.” Id. (citing

  Washington, 715 F.3d at 980). “The same conclusion applies here.” Id.1

         Defendant relies upon United States v. Valentine, 63 F.3d 459 (6th Cir. 1995), to argue the

  Government’s allegations here are not enough [Doc. 15 p. 3–4; Doc. 27 pp. 1–2]. In Valentine,

  the Sixth Circuit held that to establish a violation of § 666(a)(1)(A), the Government must prove

  that the defendant converted $5,000 or more worth of property for personal use in a twelve-month

  period. 63 F.3d at 463–64. But Valentine did not involve a violation of § 371 or any other

  conspiracy; rather, the defendant in that case was charged only with the substantive offense of

  federal program fraud in violation of 18 U.S.C. § 666(a)(1)(A). Id. at 461. Valentine is therefore

  inapposite to whether the Indictment in this case sufficiently alleges violation of § 371.2

         Acknowledging that a conspiracy is a “continuing offense,” Defendant also argues that §

  666(a)(1)(A) is not a continuing offense and “‘is completed once each element of the offense has

  occurred’” [Doc. 27 p. 3 (quoting United States v. Askia, 893 F.3d 1110, 1118 (8th Cir. 2018)].

  Thus, he argues, the Government is using the conspiracy charge to “reach back in time,” and treat



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          At the hearing, Defendant asserted that, in Washington, the face of the indictment alleged
  a specific time period and a monetary threshold. Even so, the Court of Appeals did not hold that
  an indictment alleging conspiracy to commit federal program fraud must allege those matters;
  indeed, its holding seems to expressly indicate otherwise.
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          The Court observes that in Washington, a case involving conspiracy to commit program
  fraud, the Court of Appeals did not even cite Valentine, despite Valentine being decided over a
  decade before Washington and despite the fact that Valentine was cited in United States v. Hudson,
  491 F.3d 590 (6th Cir. 2007), a case the Court of Appeals cited when explaining the elements for
  program fraud in Washington. See Washington, 715 F.3d at 979.


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  a non-continuing offense as a continuing offense and “incorporate conduct that would otherwise

  be barred by the statute of limitations” [Id. at 4].

          The Government agreed at the hearing that § 371 is a continuing offense, and here it started

  in 2011 and continued through 2018. Had it alleged a substantive offense during the same time

  period, it further conceded that, under Valentine, Defendant is correct that the Government would

  have had to allege a $5,000 loss within a twelve-month period. But it characterized Defendant’s

  argument as “misdirected” because Defendant is not charged with federal program fraud; rather,

  the federal program fraud is the object of the conspiracy alleged and it is not required to prove that

  the object of the conspiracy was completed. Thus, the Government submits, only the law on

  conspiracy applies here, not the law related to § 666(a)(1)(A).

          Had the Government charged Defendant with a substantive violation of federal program

  fraud, Defendant’s arguments would have merit; indeed, the Government concedes as much. But

  the Government charged him with conspiracy under § 371, and Defendant admits conspiracy is a

  continuing offense [Doc. 27 p. 3]. Because conspiracy is a continuing offense, the Government

  need only allege an overt act within five years of the Indictment. See Grunewald v. United States,

  353 U.S. 391, 396–97 (1957). Defendant does not seem to assert that it has not done so here, and

  the Court finds the Government has sufficiently asserted an overt act within five years of the

  Indictment.3




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          Defendant cites United States v. Yashar, 166 F.3d 873 (7th Cir. 1999), and United States
  v. Askia, 893 F.3d 1110 (8th Cir. 2018), in support of his argument that the Government is using
  the conspiracy count to charge Defendant with conduct that would otherwise be barred by the
  statute of limitations [Doc. 27 pp. 3–4]. The Court has reviewed these cases but finds them
  inapposite, as each involved charges only under § 666, not a conspiracy charge.


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         Defendant also refers the Court to United States v. Hines, 541 F.3d 833 (8th Cir. 2008),

  which he asserts “makes clear that this Indictment contains multiple charges in a single count”

  [Doc. 27 p. 5]. In Hines, the Eighth Circuit Court of Appeals held that, in charging a defendant

  under § 666, “longstanding schemes that extend for longer than a year . . . may be charged in

  multiple counts so long as the $5,000 requirement is met in each one-year time period.” 541 F.3d

  at 837. But this holding relates to charges brought under § 666, not to a conspiracy charge brought

  under § 371.4 In any event, the Eighth Circuit found that, under § 666, the government is permitted

  “aggregate multiple transactions in a single count to reach the $5,000 minimum so long as they

  were part of a single plan or scheme.” Id. at 837, see also United States v. Sanderson, 966 F.2d

  184, 189 (6th Cir. 1992) (observing that “under section 666, where multiple conversions are part

  of a single scheme, it seems appropriate to aggregate the value of property stolen in order to reach

  the $5,000 minimum required for prosecution”). Hines, however, does not require aggregation.

  See United States v. Nystrom, No. 07–30100–03–KES, 2008 WL 4833984, at *11 (D. S.D. Nov.

  4, 2008) (“Thus, the issue of whether the government should be allowed to aggregate in order to

  meet the $5,000 threshold for prosecution under § 666 is a distinct issue from whether the

  government is required to consolidate separate acts that each by themselves meet the $5,000

  requirement.”). Furthermore, upon review of the Indictment in this case, the Court agrees that it

  “alleges multiple incidents of theft over a 93-month period” [Doc. 17 p. 4; see Doc. 3]. But, as the



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          The defendant in Hines was convicted of one count of conspiracy, in addition to ten counts
  of accepting bribes in violation of 18 U.S.C. § 666(a)(1)(B). 541 F.3d 833, 835 (8th Cir. 2008).
  The Court of Appeals did not address whether the Government was required to show a minimum
  amount within a twelve-month period to sustain the conspiracy charge. Rather, with respect to the
  conspiracy conviction, the Court held Wharton’s Rule, which merges a conspiracy conviction with
  convictions on the substantive offenses, did not apply. Id. at 838 (observing that Wharton’s Rule
  “applies when there is a ‘general congruence’” between the conspiracy and the underlying offenses
  (internal quotation omitted)).


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  Government contends, those incidents are overt acts in furtherance of the single conspiracy

  charged in the Indictment, which began in or around 2011 and continued uninterrupted through in

  or about September 2018 [Doc. 3]. See Braverman v. United States, 317 U.S. 49, 54 (1942) (“The

  allegation in a single count of a conspiracy to commit several crimes is not duplicitous, for ‘The

  conspiracy is the crime, and that is one, however diverse its objects’. A conspiracy is not the

  commission of the crime which it contemplates, and neither violates nor ‘arises under’ the statute

  whose violation is its object.” (citations omitted)).

         In sum, the Court finds that the Indictment, charging Defendant with violation of 18 U.S.C.

  § 371, contains the elements of the offense, fairly informs Defendant of the charge against which

  he must defend, and enables him to plead an acquittal or conviction in bar of future prosecutions

  for the same offense. The Court further finds the Indictment is not duplicitous because it does not

  set forth separate and distinct crimes in one count; rather, it sets forth one count of conspiracy to

  commit federal program fraud in violation of 18 U.S.C. § 371.5




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         Even if duplicitous, duplicity issues may be cured with a unanimity instruction to the jury.
  See United States v. Williams, 998 F.3d 716, 735 (6th Cir. 2021) (“The district court also cured
  any potential duplicity issue with unanimity instructions to the jury.” (citations omitted)).


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  III.   CONCLUSION

         For the reasons explained above, the undersigned respectfully RECOMMENDS that that

  the District Judge DENY the Motion to Dismiss the Indictment for Failure to State an Offense

  [Doc. 14] and DENY the Motion to Dismiss Indictment Based on Duplicity [Doc. 16].6

                                                        Respectfully submitted,

                                                        ____________________________
                                                        Jill E. McCook
                                                        United States Magistrate Judge




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           Any objections to this report and recommendation must be served and filed within fourteen
  (14) days after service of a copy of this recommended disposition on the objecting party. Fed. R.
  Crim. P. 59(b)(2) (as amended). Failure to file objections within the time specified waives the
  right to review by the District Court. Fed. R. Crim. P. 59(b)(2); see United States v. Branch, 537
  F.3d 582, 587 (6th. Cir. 2008); see also Thomas v. Arn, 474 U.S. 140, 155 (1985) (providing that
  failure to file objections in compliance with the required time period waives the right to appeal the
  District Court’s order). The District Court need not provide de novo review where objections to
  this report and recommendation are frivolous, conclusive, or general. Mira v. Marshall, 806 F.2d
  636, 637 (6th Cir. 1986). Only specific objections are reserved for appellate review. Smith v.
  Detroit Fed. of Teachers, 829 F.2d 1370, 1373 (6th Cir. 1987).


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